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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA

___________________________________
                          )
ATLAS, INC., et al.,      )             Case No.: 1:17-cv-01953-RDM
                          )
           Plaintiffs,    )             Hon. Randolph D. Moss
                       v. )
                          )
INTERNATIONAL BROTHERHOOD )
OF TEAMSTERS, AIRLINE     )
DIVISION, et al.,         )
                          )
           Defendants.    )
                          )

    DEFENDANTS’ MEMORANDUM IN OPPOSITION TO PLAINTIFFS'
         MOTION FOR PRELIMINARY INJUNCTIVE RELIEF




                    Union Exhibit 50:
    Supplemental Exhibit: Atlas Pilot
             Experience
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                                                                                       Supplemental Exhibit: Atlas Pilots Are Less Experienced Than Ever, Captains Are Very Junior
                       Share of Active Pilots With Less
                        Than Three Years Experience
                                 (Gray Bars)

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  October 2011                          ~
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   August 2012                                    \0
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  October 2013                                         ~                      El
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September 2014



September 2015


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September 2016                                                      O'I
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September 2017                                                            ....
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                     Junior-Most Captain Years of Service
                                 (Red Line)
